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                                                     U.S. Department of Justice


                                                     United States Attorney
                                                     Eastern District of New York
  MPR:GMP                                            271 Cadman Plaza East
  F. #2009R01065                                     Brooklyn, New York 11201

                                                     May 23, 2019

  By ECF

  The Honorable Brian M. Cogan
  United States District Judge
  United States District Court
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, New York 11201

                Re:     United States v. Joaquin Archivaldo Guzman Loera
                        Criminal Docket No. 09-466 (BMC) (S-4)

  Dear Judge Cogan:

                The government respectfully submits this letter in opposition to the defendant’s
  motion dated May 9, 2019 in which he requests (1) at least two hours of outdoor recreation a
  week; (2) access to general population commissary; (3) the ability to purchase six water bottles
  every week; and (4) access to a set of earplugs. Def. Mot. at 1 (Dkt. 614). For the reasons that
  follow, the Court should reject the defendant’s requests.

  I.     Background

                 On March 13, 2017, the defendant moved to vacate, or in the alternative, modify
  the SAMs imposed on him at the Metropolitan Correctional Center in New York, New York
  (the “MCC”). On May 4, 2017, the Court denied in part and granted in part the defendant’s
  motion. In the May 4, 2017 Order, the Court found that the SAMs were rationally connected
  to a legitimate government purpose that were specifically tailored to the defendant in light of
  his previous conduct, which involved running the Sinaloa Cartel from prison, coordinating
  escapes from jail and intimidating cooperating witnesses. May 4, 2017 Order (the “May 4
  Order”) at 5 (Dkt. 71). In the May 4 Order, the Court noted that the complaints the defendant
  made in his March 2017 motion—e.g, “the size of the defendant’s cell, the parameters of his
  window, the presence of phantom music and the television programming available to the
  defendant during his daily hour of exercise”—which are similar to most of the complaints
  raised here, did not present “constitutional concerns and the Court [was] not going to micro-
  manage the [Bureau of Prisons].” Id. at 8.
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                  On February 12, 2019, after a nearly three-month trial, the defendant was
  convicted on all ten counts, including operating a continuing criminal enterprise, in violation
  of 21 U.S.C. § 848(a), international conspiracy to manufacture and distribute cocaine, heroin,
  methamphetamine and marijuana, in violation of 21 U.S.C. §§ 959(a), 960(a)(3), 960(b)(1)(A),
  960(b)(1)(G), 960(b)(1)(H) and 963; conspiracy to import cocaine into the United States, in
  violation of 21 U.S.C. §§ 952(a); conspiracy to distribute cocaine, in violation of 21 U.S.C.
  § 841(a)(1), 841(b)(1)(A)(ii)(II) and 846; multiple counts of international distribution of
  cocaine for unlawful importation into the United States, in violation of 21 U.S.C. §§ 959(a),
  959(c) and 960(b)(1)(B)(ii); possessing, brandishing and discharging firearms, including a
  machinegun, in furtherance of drug trafficking, in violation of 18 U.S.C. § 924(c); and
  conspiracy to launder proceeds of drug trafficking, in violation of 18 U.S.C.
  § 1956(a)(1)(A)(i). The defendant faces a mandatory sentence of life imprisonment. Since
  the end of his jury trial, the defendant has continued to reside in the SAMs unit on 10 South of
  the MCC.

                To date, the MCC has not received a single administrative request regarding any
  of the complaints that the defendant raises in his motion. Consequently, the defendant never
  gave the MCC an opportunity to respond to his complaints until he filed the present motion.
  The defendant is aware that he has the ability to make requests regarding his housing
  conditions, and he has made such requests in the past. For example, after arriving in the United
  States, the defendant filed eleven Requests for Administrative Remedies, also known as
  BP-9’s, with the MCC. Of those requests, the Bureau of Prisons (“BOP”) granted or partially
  granted seven requests. For instance, the defendant previously used a BP-9 to lodge his initial
  complaint that the tap water at the MCC was irritating his throat and requested that the BOP
  allow him to buy bottled water from the commissary. The BOP granted that request. The
  defendant made mention of the lack of Spanish-speaking staff working on his unit and noted
  that the language barrier made it difficult for him to order items from the commissary. The
  BOP provided the defendant a commissary list in Spanish.

                  In the present situation, the defendant did not make a single attempt to file a
  BP-9 regarding either the items he would like to receive from the general population
  commissary, the number of bottles of water he was receiving per week, earplugs or obtaining
  outdoor recreational privileges. While the defendant claims that he has not received six bottles
  of water every week, the MCC’s records show that is no longer true. Indeed, the MCC’s
  records show that the defendant has received six bottles of water per week since April 2019.
  As noted above, the first time the MCC learned of the defendant’s complaint was in his filing
  to the Court. 1 The Court thus should deny the defendant’s motion in this regard as moot.


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                   Notably, the government did not learn of these issues prior to the defendant
  filing the instant motion. As noted by the Court in its May 4 Order, many “routine and rather
  petty complaints” can be resolved by the parties before seeking Court intervention. May 4
  Order at 8 n.3. No such effort was made by the defense with regard to any of the defendant’s
  complaints here.


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  II.    The Defendant’s Other Requests Should Be Denied

                  While at least one of the defendant’s complaints has been resolved absent the
  defendant’s request to the BOP, at least two of the defendant’s complaints—namely the
  defendant’s request for earplugs and access to the general population commissary—are not the
  types of “constitutional concerns” the Court contemplated addressing in the May 4 Order. See
  May 4 Order at 8 (stating that Court would not concern itself with issues that were not
  “constitutional concerns and the Court is not going to micro-manage the BOP.”). In any event,
  even if the Court considers the defendant’s complaints without review by the BOP, the
  defendant’s remaining requests cannot be granted due to safety concerns identified by the
  MCC. Specifically, the defendant’s requests for earplugs, access to all general population
  commissary items and two hours of outdoor exercise per week should be denied due to
  legitimate penological concerns identified by the MCC.

         A.     Earplugs

                  The defendant complains that he needs earplugs in order to sleep, and that he
  has been denied access to ear plugs by the MCC. The defendant submits that this is especially
  problematic because he suffers from ear pain. 2 Again, the defendant never made this request
  to the MCC, nor has the defendant made any request for medical treatment for his ear pain.
  Had the defendant made a request for earplugs, however, he would have learned that the MCC
  has restricted the use of earplugs to all inmates due to safety concerns within the institution.
  The reason for the restriction is simple: If there were an emergency, an inmate would not be
  able to hear the guards alerting the inmates to the problem. Inmates could also use the earplugs
  as a ruse to ignore, or pretend not to hear, the guards’ orders.

         B.     Access to General Population Commissary

                 SAMs inmates are not permitted unfettered access to general population
  commissary. As this Court has noted, the “exact purpose” of housing certain inmates in SAMs
  is to “prevent violence.” May 4 Order at 10. As a result, the MCC does not make certain
  commissary items available to SAMs inmates for safety concerns. This is with good reason.
  Inmates may weaponize certain items listed on the general population commissary. By way
  of example, in November 2000, an inmate who was held in the SAMs unit on 10 South,
  Mamdouh Mahmud Salim, stabbed a BOP guard in the eye with a plastic comb that Salim had
  sharpened into a weapon, after initially blinding the BOP guard with hot sauce that he had
  fashioned into a mace-like weapon. Declaration at ¶ 13 (Dkt. 91, Attachment 1). The BOP
  guard was nearly killed. Id. In stabbing the BOP guard, Salim was attempting to reach and
  harm his attorneys. Id. While Salim was incarcerated at the time on charges of participating

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                   To the extent the defendant suggests that his ear problems are a result of his
  confinement in the MCC, this is false. Based on information from a cooperating witness, the
  defendant suffered from ear issues for years when he was at large, long before he was
  extradited to the United States.


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  in a terrorism conspiracy, he had never previously attempted to harm his attorneys or other
  prison staff, nor did he have a history of doing so before his incarceration at the MCC. Id.

               Even notwithstanding restrictions on SAMs’ inmates’ commissary items, the
  MCC Warden recently informed SAMs inmates that he would be willing to consider making
  certain commissary items that were previously restricted from SAMs inmates, available to
  SAMs inmates, upon review by a committee. To date, the defendant has not made any requests
  to the MCC for additional items from the general population commissary. Again, the first time
  the MCC learned of the defendant’s desire for additional commissary items was his filing with
  the Court.

         C.     Two Hours of Outdoor Exercise

                 Finally, the defendant requests two hours of outdoor exercise per week and
  claims that his lack of access to outdoor exercise is a violation of his Eighth Amendment rights.
  Def. Mot. at 10. This motion should be denied.

                 As noted in the Court’s May 4 Order, the four-part framework outlined in Turner
  v. Safley, 482 U.S. 78 (1987), applies when a defendant claims his constitutional rights have
  been infringed by a prison regulation. May 4, 2017 Order at 4 (Dkt. 71). Under the four-factor
  Turner test, the Court evaluates: “(1) whether the regulation is rationally connected to a
  legitimate and neutral government objective; (2) whether inmates have alternative means of
  exercising the constitutional right at issue, where the existence of alternative means weighs in
  favor of deferring to the corrections agency; (3) whether there is an impact on guards, other
  inmates, and allocation of prison resources because of the requested accommodation; and
  (4) whether there are obvious alternatives to the regulation, where alternatives suggest that the
  regulation is not reasonable but rather responsive to an “exaggerated” concern and where the
  absence of alternatives suggests deference to the corrections agency is appropriate. Id. (citing
  Turner, 482 U.S. at 89-91).

                 In this case, the BOP has considered—and rejected—the possibility of giving
  SAMs inmates extended outdoor exercise time because it is reasonably related to legitimate
  penological interest: preventing escape from the MCC. The only outdoor exercise area
  available at the MCC for high-security risk inmates is a rooftop recreation area covered by
  wire screening. This particular MCC rooftop recreation area was the scene of an attempted
  jailbreak on January 25, 1981. 3 In that instance, an inmate’s cohorts hijacked a sightseeing
  helicopter, flew it over the MCC rooftop recreation area and attempted to cut through the wire
  screening surrounding the recreation area. When that did not work, they rammed the helicopter

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                  Robert D. McFadden, Escape by Copter Foiled at U.S. Jail in Manhattan, N.Y.
  Times, available at https://www.nytimes.com/1981/01/26/nyregion/escape-by-copter-foiled-
  at-us-jail-in-manhattan.html (last visited May 21, 2019). Notably, this was not the only
  attempted escape from the MCC rooftop recreation area. On another occasion, an inmate
  attempted to escape by climbing over a wall.


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  into the screen, and then dropped a pistol to one of the inmates on the roof. Ultimately, the
  escape plot was foiled, but the incident itself resulted in a standoff between two armed inmates
  and more than 100 armed, flak-jacketed police officers and prison guards in a population
  dense, urban area.

                 In this case, any outdoor exercise time would be particularly problematic for
  this defendant. The defendant has successfully planned and executed elaborate escapes from
  two high-security penal institutions. As detailed at trial, one of the defendant’s escapes
  involved the construction of a sophisticated, ventilated tunnel that stretched for over a mile.
  Certainly, an escape via rooftop, using a helicopter, or any related means would be elementary
  by comparison. Moreover, one of the purposes of imposing the SAMs on the defendant is to
  prevent his communication with other members of the Sinaloa Cartel, or other criminal
  associates who could carry out orders on his behalf. If the MCC permitted the defendant to
  have regular outdoor exercise, there is a serious risk that the defendant could potentially
  communicate with individuals in buildings surrounding the MCC, or in buildings that are taller
  than the MCC and have a view of the recreation area. In light of these facts and the MCC’s
  past experience with escape attempts involving its rooftop recreation area, the MCC’s concerns
  about the defendant spending extended, regular time outdoors in this area are well founded and
  rationally connected to a legitimate government objective.

                  The second prong of Turner is also satisfied. The defendant has alternative
  means by which he can exercise and receive access to outdoor air and light. As noted in the
  government’s previous filings, the defendant has access to a recreation area in 10 South that is
  equipped with several different types of exercise equipment, including an exercise bike and
  elliptical, and a vented window that provides the defendant with access to fresh, outdoor air
  and sunlight. 4 See Dkt. 52 at 39. The defendant is permitted five hours per week in this
  recreation area.

                Considering the third Turner prong, substantial additional resources would,
  indeed, be required to accommodate the defendant’s request. In light of the prior attempted
  rooftop escapes, far more prison guards than the few who accompany the defendant to the 10
  South recreation area would be needed—contrary to what the defendant suggests—to
  supervise any outdoor recreation time to ensure that he did not attempt an escape, or pass any
  messages. This would unduly burden prison resources and would have an unfair impact on
  other inmates in the institution, especially because the MCC often must put its other inmates
  on lock down every time the defendant is moved out of 10 South.

                Finally, there are no “obvious” alternatives to the regulation, beyond what has
  been provided to the defendant—i.e., 5 hours in the 10 South recreational area. Considering
  the MCC’s history with attempted escapes from the rooftop recreational area, the MCC’s
  concern is not “exaggerated,” and its determination about outdoor recreation should be given

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                 The recreation area on 10 South is similar to a recreation area used by general
  population inmates at the Metropolitan Detention Center in Brooklyn.


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  deference. As such, the defendant’s request for 2 hours of outdoor exercise per week should
  be denied.

  III.   Conclusion

                For the foregoing reasons, the government respectfully submits that the Court
  should regard the defendant’s request for six bottles of water per week as moot, and reject the
  defendant’s requests for (1) access to a set of ear plugs; (2) access to general population
  commissary; and (3) at least two hours of outdoor recreation a week.


                                                     Respectfully submitted,

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